   Case: 2:19-cr-00053-EAS Doc #: 16 Filed: 03/21/19 Page: 1 of 1 PAGEID #: 60




                          CRIMINAL MINUTES

2:19-cr-53
USA v. Andrew K. Mitchell
(Custody)


                      Arraignment on Indictment
                                 &
                           Motion Hearing

                Hearing held on Thursday, 3/21/2019
                             10:30 a.m.
              before Chief Judge Edmund A. Sargus, Jr.

For Govt: Jessica Kim and Kevin Kelley

For Deft: Mark Collins and Kaitlyn Stephens

Court Reporter: Darla Coulter

Courtroom Deputy: Christin Werner

     Defendant entered a plea of not guilty to counts 1-7 and the
     forfeiture allegation of the Indictment.
     Trial scheduled for 5/20/2019 at 9:00 a.m.
     Motion Hearing continued. Defense counsel will notify the Court
     when they are ready to proceed.
